Case 6:09-cr-00053-JCB-JDL           Document 295        Filed 08/23/10       Page 1 of 2 PageID #:
                                             230


                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                        TYLER DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §    CRIMINAL ACTION NO. 6:09CR53
                                                  §
RONALD JACK EDWARDS (02)                          §



                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE


       On April 15, 2010, the Court referred the Petition of Van Zandt County, Texas, et al. for

Adjudication of Interest in Property 1805 VZ CR 4614, Ben Wheeler, Texas (document #280). This

ancillary forfeiture proceeding was referred to the undersigned for a hearing and proposed findings

of fact and recommendations as to its disposition.

       On August 23, 2010, the United States of America (“the Government”) and petitioners Van

Zandt County, Texas, and Van ISD (“the Taxing Authorities”), filed a Stipulation (document #293).

In the Stipulation, the Taxing Authorities agree to the entry of a Final Order of Forfeiture forfeiting

the property to the Government and providing for payment of the ad valorem taxes owed to them

after payment of all costs incurred in protecting and selling the property, with the parties each

bearing their own costs and attorney’s fees. The parties have resolved the issues in dispute and the

petition should be dismissed.
Case 6:09-cr-00053-JCB-JDL          Document 295         Filed 08/23/10      Page 2 of 2 PageID #:
                                            231


                                         Recommendation

       It is recommended that the Petition of Van Zandt County, Texas, et al. for Adjudication of

Interest in Property 1805 VZ CR 4614, Ben Wheeler, Texas (document #280) be dismissed and that

a Final Order of Forfeiture be entered as agreed to by the parties in the Stipulation.

       Within fourteen days after receipt of the magistrate judge’s report, any party may serve and

file written objections to the findings and recommendations of the magistrate judge.

       A party’s failure to file written objections to the findings, conclusions and recommendations

contained in this Report within fourteen days after service shall bar that party from de novo review

by the district judge of those findings, conclusions and recommendations and, except upon grounds

of plain error, from attacking on appeal the unobjected-to proposed factual findings and legal

conclusions accepted and adopted by the District Court. Douglass v. United Services Auto. Assn.,

79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

          So ORDERED and SIGNED this 23 day of August, 2010.



                                                         ____________________________
                                                         JUDITH K. GUTHRIE
                                                         UNITED STATES MAGISTRATE JUDGE




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